
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-05-172-CV

DEL WARE COMPANIES	APPELLANT



V.



ARGYLE INDEPENDENT SCHOOL	APPELLEE

DISTRICT



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FROM THE 367TH DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On August 5, 2005, we notified appellant that its brief had not been filed as required by rule 38.6(a). &nbsp;
 
See
 T
EX
. R. A
PP
. P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1). &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.

 &nbsp;&nbsp;&nbsp;

PER CURIAM 			

PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: August 25, 2005



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




